                  Case 3:19-cv-02000-JR       Document 7               Filed 01/08/20    Page 1 of 10




   Paula A. Barran, OSB No. 803974
   pbarran@barran.com
   Barran Liebman LLP
   601 SW Second Avenue
   Suite 2300
   Portland, Oregon 97204-3159
   Telephone: (503) 228-0500
   Facsimile No.: (503) 274-1212
    Attorneys for Defendant Linfield College

                                  UNITED STATES DISTRICT COURT

                                         DISTRICT OF OREGON

                                                     Portland


  ANNAMARIE MOTIS,                                                                    CV. 3:19-cv-02000-BR

                                         Plaintiff,

             v.                                                    DEFENDANT LINFIELD
                                                                   COLLEGE'S ANSWER AND
  DAVID JUBB and LINFIELD COLLEGE,                                 AFFIRMATIVE DEFENSES

                                       Defendant.




             Defendant Linfield College ("Linfield"), an Oregon nonprofit corporation, for answer to

  Plaintiff's Complaint, states as follows.



             Linfield admits paragraphs 2 and 20.

                                                          2.

             Answering paragraph 1, Linfield admits that David Jubb ("Jubb") was a member of the

  Linfield College Board of Trustees. Linfield understands but cannot confirm that Jubb has been a

  resident of the State of Oregon and for that reason denies that allegation.

                                                          3.

             Answering paragraph 3, Linfield admits that Plaintiff is an adult female and that she was

  an undergraduate student member of its Board of Trustees in 2018-19.                      Linfield is without
Page 1 - DEFENDANT LINFIELD COLLEGE'S ANSWER AND AFFIRMATIVE DEFENSES
00858746.1
                                                  BARRAN LIEBMAN LLP
                                             601 SW SECOND AVENUE, SUITE 2300
                                                  PORTLAND, OR 97204-3159
                                            PHONE (503) 228-0500 FAX (503) 274-1212
                Case 3:19-cv-02000-JR       Document 7                Filed 01/08/20   Page 2 of 10




   knowledge of Plaintiff's current residence and for that reason denies those allegations. Linfield

   denies that Plaintiff is currently registered for classes and states it is without sufficient knowledge

   of her educational plans to admit or deny her status.

                                                          4.

             Answering paragraphs 4, 5, and 6, Linfield admits that this court has jurisdiction over

   Plaintiff's claims, that she alleges a claim under Title IX of the Education Amendments of 1972,

  and that venue is proper in the District of Oregon. Linfield denies that Plaintiff has or states a

  valid claim against it.

                                                         5.

             No answer is made to paragraph 7 because Plaintiff has not asserted the claim against

  Linfield.

                                                         6.

             No answer is required for paragraphs 8 and 10 because the language of Congress and the

  Department of Education speaks for itself If answer is required, Linfield admits that Plaintiff has

  partially quoted language from the United States Code and the Code of Federal Regulations.

                                                         7.

             No answer is made to paragraph 9 because the language of Congress speaks for itself If

  answer is required, Linfield states that Plaintiff has inaccurately stated the law relating to the extent

  and scope of regulatory authority under Title IX and for that reason denies paragraph 9 except to

  the extent that Linfield admits 34 CFR Part 106 is a regulation authorized by Title IX.

                                                         8.

             Answering paragraph 11, Linfield states that no answer is required because the words of

  the Supreme Court speak for themselves. If answer is required, Linfield disagrees with the

  sufficiency of Plaintiff's summary of Gebser v. Lago Vista and for that reason denies paragraph

  11.



Page 2 - DEFENDANT LINFIELD COLLEGE'S ANSWER AND AFFIRMATIVE DEFENSES
00858746.1
                                                 BARRAN LIEBMAN up
                                            601 SW SECOND AVENUE, SUITE 2300
                                                 PORTLAND, OR 97204-3159
                                           PHONE (503) 228-0500 FAX (503) 274-1212
                Case 3:19-cv-02000-JR        Document 7                Filed 01/08/20   Page 3 of 10




                                                           9.

             Answering paragraph 12, Linfield admits that Plaintiff and Jubb attended a Trustees'

   meeting and states that dinner attendees moved around, and as a result Linfield is without sufficient

   information to admit or deny where Plaintiff sat at various times or what discussions individual

   faculty or trustees had about their personal plans for the evening after the scheduled college event

   concluded, and for that reason denies Plaintiff's allegations.

                                                          10.

             Answering paragraphs 13-15, Linfield is without sufficient information to admit or deny

  what conversations or actions Plaintiff had or performed after the scheduled college event

  concluded, and for that reason denies Plaintiff's allegations.

                                                          11.

             Answering paragraph 16, Linfield admits that Nick's Backroom was closed and that the

  group went to The Oak. Linfield denies the remaining allegations of paragraph 16.

                                                          12.

             Answering paragraph 17, Linfield admits that Plaintiff told the group she was meeting a

  friend, but denies the remaining allegations of paragraph 17. In further response, Linfield states

  that Plaintiff had further conversation with some of the attendees and that upon leaving stated that

  it had been great and that the group should "do it again" or words to that effect.

                                                         13.

             Answering paragraph 18, Linfield admits that Plaintiff made a police report but is without

  sufficient information to admit or deny what conversations Plaintiff had with police, and for that

  reason denies Plaintiff's allegations.

                                                         14.

             Answering paragraph 19, Linfield admits that Plaintiff made a report to Linfield through

  its Title IX Coordinator, and Mr. Baca reached out to her to arrange to meet. She described events

  she stated had occurred after the dinner. In further response to paragraph 19, Linfield states that

Page 3 - DEFENDANT LINFIELD COLLEGE'S ANSWER AND AFFIRMATIVE DEFENSES
00858746.1
                                                  BARRAN LIEBMAN LLP
                                             601 SW SECOND AVENUE, SUITE 2300
                                                  PORTLAND, OR 97204-3159
                                            PHONE (503) 228-0500 FAX (503) 274-1212
                 Case 3:19-cv-02000-JR       Document 7                Filed 01/08/20   Page 4 of 10




   Plaintiff instructed Linfield not to conduct an investigation and that she intended to make a police

   report, and that both Linfield and Mr. Baca provided Plaintiff offers of support and assistance

   including:

             Mr. Baca:

             •   Assured Plaintiff that he would ensure she would not have further contact with

                 Mr. Jubb;

             •   Told her he wanted to support her;

             •   Stated he would "disinvite" Mr. Jubb from the meeting;

             •   Asked her input on her thoughts whether the college should remove Mr. Jubb from the

                 Board;

             •   Told Mr. Jubb he was not to attend the May Board meeting and provided the reason;

             •   Asked Mr. Jubb for his resignation; and

             •   Asked Plaintiff what she needed in terms of support.

             Title IX Coordinator Ms. Hopp:

             •   Discussed Plaintiffs options to go to the police or elect that the college would

                 investigate;

             •   Recommended counseling;

             •   Inquired if Plaintiff wanted her to arrange a notice to faculty that she would be away

                 from classes;

             •   Met with Plaintiff through the remainder of the semester; and

             •   Assured Plaintiff Mr. Jubb would not be at the May trustee meeting.

                                                         15.

             Answering paragraph 21, Linfield states that it initially gathered factual information from

  Plaintiff through its Title IX Coordinator, who discussed her options with her, and that Plaintiff

  requested that no internal college investigation be performed but that she wished to make a police

  report. Later, through her attorney, Plaintiff agreed to participate in an internal investigation and

Page 4 - DEFENDANT LINFIELD COLLEGE'S ANSWER AND AFFIRMATIVE DEFENSES
00858746.1
                                                  BARRAN LIEBMAN LIR
                                             601 SW SECOND AVENUE. SUITE 2300
                                                  PORTLAND. OR 97204-3159
                                            PHONE (503) 228-0500 FAX (503) 274-1212
                Case 3:19-cv-02000-JR        Document 7                Filed 01/08/20   Page 5 of 10




   the college promptly contracted a specialized investigator who conducted a detailed interview with

   Plaintiff Linfield admits that the external investigation is not yet complete. Linfield denies the

   remaining allegations of paragraph 21.

                                                          16.

             Answering paragraph 22, Linfield states that because Plaintiffs Complaint does not

   identify what is meant by "sufficient information and belief," it lacks sufficient information to

   respond and therefore denies the allegations of paragraph 22.

                                                          17.

             No answer is called for by paragraphs 23-24. If answer if required, Linfield denies any

   allegations.

                                                         18.

             In response to paragraph 25, Linfield incorporates the responses to paragraphs 1-24 stated

  herein.

                                                         19.

             Linfield denies the remaining allegations of the Complaint, and denies all allegations

  except where specifically admitted herein.

                           AFFIRMATIVE AND ADDITIONAL DEFENSES

             For its affirmative defenses to Plaintiffs Complaint, and without assuming the burden of

  proof, Defendant Linfield College alleges as follows:

                                   FIRST AFFIRMATIVE DEFENSE

                                      (Prompt and Effective Action)

                                                         20.

             Linfield College has not violated Title IX because it had policies and procedures designed

  to prevent and correct harassment and other sexual misconduct and, upon notice of Plaintiffs

  report, took such supportive action as permitted by Plaintiff, who instructed Linfield, including



Page 5 - DEFENDANT LINFIELD COLLEGE'S ANSWER AND AFFIRMATIVE DEFENSES
00858746.1
                                                  BARRAN LIEBMAN up
                                             601 SW SECOND AVENUE, SUITE 2300
                                                  PORTLAND, OR 97204-3159
                                            PHONE (503) 228-0500 FAX (503) 274-1212
                Case 3:19-cv-02000-JR        Document 7                 Filed 01/08/20   Page 6 of 10




   through her counsel, not to conduct its own investigation. In addition to paragraph 14 above, the

   following are examples of such actions and measures:

       •     Linfield has a designated Title IX Coordinator and four Title IX Deputies who are

             identified in the Student Policy Guide and on the college's website.

       •     It maintains a robust informational webpage which includes separate pages for:

                 o Sexual Misconduct and Relationship Violence Response & Prevention, Reporting

                    Options

                 o Student Policy Guide, including comprehensive Sexual Misconduct and

                    Relationship Violence Policy and Procedures which encourages internal reporting

                    and includes the following statement: "You can report what has happened to the

                    local police. We strongly recommend that you provide all relevant information and

                    evidence to the police as soon after the assault as possible. The police forward their

                    report to the prosecutor's office. The prosecutor then determines whether or not

                    there is sufficient evidence to proceed with the case. Their 24-hour number is 503-

                    434-6500."

                o "Get Help: McMinnville Campus"

                o "Options and Resources in Matters of Sexual Misconduct and Relationship

                    Violence"

                o "Prevention and Risk Reduction"

                o "Protecting Yourself in Social Media"

                o "College Public Safety"

                o "Student Health, Wellness and Counseling"

       •     Its published "Resources for Support and Care for Concerns of Sexual Violence or

             Misconduct" includes:

                o On Campus Resources:



Page 6 - DEFENDANT LINFIELD COLLEGE'S ANSWER AND AFFIRMATIVE DEFENSES
00858746.1
                                                  BARRAN LIEBMAN LLe
                                             601 SW SECOND AVENUE, SUITE 2300
                                                  PORTLAND, OR 97204-3159
                                            PHONE (503) 228-0500 FAX (503) 274-1212
                  Case 3:19-cv-02000-JR      Document 7                Filed 01/08/20   Page 7 of 10




                        ■   For emergencies: Linfield Campus Safety. 503-883-SAFE (7233). 24

                            hours a day, 7 days a week.

                        ■   Linfield Student Health, Wellness and Counseling Center 503-883-2535.

                            M-F 9am-5pm.

                        ■   Linfield Residence Life: 503-883-5433 (Life). 24 hours a day, 7 days a

                            week.

                  o Off Campus Resources:

                        ■   Henderson Hours Crisis Line 503-472-1503, toll free 877-227-5946.
                        ■   Yamhill County Crime Victim Services 503-434-7510.

                        ■   National Sexual Assault Telephone Hotline 1-800-656-4673 (HOPE).

                                  SECOND AFFIRMATIVE DEFENSE

             (Linfield Action Not Clearly Unreasonable in Light of Known Circumstances)

                                                          21.

             To the extent Plaintiff complains of Linfield's response to incidents of harassment, such

  responses were not clearly unreasonable in light of known circumstances, nor were its responses

  such that they caused students to undergo harassment.

                                    THIRD AFFIRMATIVE DEFENSE

                                          (Waiver of Assistance)

                                                         22.

             Plaintiff declined to use support and resources offered and available from Linfield, and to

  the extent using such support and resources would have reduced any damage or halm alleged to

  have been experienced or any damages sought in this lawsuit, Linfield is not responsible for such

  damage or harm.

             //



             1/

Page 7 - DEFENDANT LINFIELD COLLEGE'S ANSWER AND AFFIRMATIVE DEFENSES
00858746.1
                                                  BARRAN LIEBMAN LLP
                                             601 SW SECOND AVENUE, SUITE 2300
                                                  PORTLAND, OR 97204-3159
                                            PHONE (503) 228-0500 FAX (503) 274-1212
                  Case 3:19-cv-02000-JR      Document 7                Filed 01/08/20   Page 8 of 10




                                  FOURTH AFFIRMATIVE DEFENSE

                                 (Not an Education Program or Activity)

                                                         23.

             Linfield College cannot be found liable under Title IX for any events which occurred

   following a meeting of trustees attended by Plaintiff because any such events were social, occurred

   off campus, and under circumstances over which the college did not exercise substantial control.

                                   FIFTH AFFIRMATIVE DEFENSE

                                         (No Substantial Control)

                                                         24.

             Linfield College did not have substantial control over the alleged conduct or the context in

  which it occurred and accordingly is not liable under Title IX, and it did not expose Plaintiff to an

  unreasonable risk.

                                   SIXTH AFFIRMATIVE DEFENSE

                                          (Sole Fault of Another)

                                                         25.

             If Plaintiff was harmed in any way by the events alleged in her Complaint, any such harm

  was caused by the conduct of a third party, and any harm was the result of a third party's sole fault.

                                 SEVENTH AFFIRMATIVE DEFENSE

                                    (No Respondeat Superior Liability)

                                                         26.

             To the extent Plaintiff seeks to impose liability upon Linfield on a respondeat superior

  basis, such claims are barred by Title IX. Furthermore, responsibility for damages that may have

  been caused to Plaintiff cannot be imputed to Linfield.

             //

             /1



Page 8 - DEFENDANT LINFIELD COLLEGE'S ANSWER AND AFFIRMATIVE DEFENSES
00858746.1
                                                  BARRAN LIEBMAN LLP
                                             601 SW SECOND AVENUE, SUITE 2300
                                                  PORTLAND, OR 97204-3159
                                            PHONE (503) 228-0500 FAX (503) 274-1212
               Case 3:19-cv-02000-JR       Document 7                 Filed 01/08/20   Page 9 of 10




                                 EIGHTH AFFIRMATIVE DEFENSE

                   (Single Incident; Plaintiff Not Denied Equal Access to Education)

                                                        27.

             Plaintiff's claims fail to establish conduct that was severe, pervasive and objectively

   offensive, or that it had a systemic effect of denying Plaintiff equal access to an educational

   program or activity.

                                  NINTH AFFIRMATIVE DEFENSE

                                      (No Denial of Equal Access)

                                                        28.

             Plaintiff was not denied equal access to her educational experience and accordingly her

   Title IX claim fails.



             WHEREFORE having fully answered Plaintiff's Complaint, Linfield prays for judgement

   in its favor, dismissing Plaintiff's claims in their entirety, and granting Linfield its costs and

   expenses herein, including its expert witness fees, all pursuant to 42 USC 1988(b) and (c).



             DATED this 8th day of January, 2020.

                                                       BARRAN LIEBMAN LLP


                                                              s/Paula A. Barran
                                                       By
                                                          Paula A. Barran, OSB No. 803974
                                                          pbarran@barran.com
                                                       Attorneys for Defendant Linfield College




Page 9 - DEFENDANT LINFIELD COLLEGE'S ANSWER AND AFFIRMATIVE DEFENSES
00858746.1

                                                BARRAN LIEBMAN ux
                                           601 SW SECOND AVENUE, SUITE 2300
                                                PORTLAND, OR 97204-3159
                                          PHONE (503) 228-0500 FAX (503) 274-1212
                 Case 3:19-cv-02000-JR       Document 7                 Filed 01/08/20   Page 10 of 10




                                      CERTIFICATE OF SERVICE

                     I hereby certify that on the 8th day of January, 2020, I served the foregoing

       DEFENDANT LINFIELD COLLEGE'S ANSWER AND AFFIRMATIVE DEFENSES

       on the following parties at the following addresses:

                   Erin S. Greenawald                             Lindsay H. Duncan
                   Sean J. Riddell                                Hart Wagner LLP
                   2905 NE Broadway St.                           439 SW Umatilla Ave.
                   Portland, OR 97232                             Redmond, OR 97756
                                                                  glw@hartwagner.com
                   esglawl@gmail.com
                   Sean.Riddell@live.corn                         Attorneys for Defendant David Jubb

                   Attorneys for Plaintiff




  by the following indicated method or methods set forth below:

             •      Electronic Filing using the Court's ECF System

             ❑      Facsimile

             ❑      First-class mail, postage prepaid

             ❑      Hand-delivery

             ❑      Overnight courier, delivery prepaid

             ❑      E-mail


                                                      s/Paula A. Barran

                                                       Paula A. Barran




Page 1 — CERTIFICATE OF SERVICE
00858746.1
                                                   BARRAN LIEBMAN uy
                                              601 SW SECOND AVENUE, SUITE 2300
                                                   PORTLAND, OR 97204-3159
                                             PHONE (503) 228-0500 FAX (503) 274-1212
